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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    UMG RECORDINGS, INC., et al.,

           Plaintiffs,

    v.                                                      Case No. 8:19-cv-00710-MSS-TGW

    BRIGHT HOUSE NETWORKS, LLC,

           Defendant.

              DEFENDANT’S OBJECTION AND RESPONSE TO PLAINTIFFS’
                     NOTICE OF SUPPLEMENTAL AUTHORITY


           Defendant Bright House Networks, LLC (“BHN”) provides this brief objection and

    response to the “Notice of Supplemental Authority” filed by Plaintiffs on June 9, 2020 (Dkt.

    137) (“Notice”), which attached a post-trial order issued in Sony Music Entertainment v. Cox

    Communications, Inc. (“Cox”), No. 1:18-cv-00950-LO-JFA (“Order”).

           First, Plaintiffs’ Notice is procedurally improper. It is Plaintiffs’ latest submission of

    supplemental authority filed without first obtaining the Court’s leave,1 and improperly makes

    legal argument.2 The Notice is prohibited by the Local Rules and should be stricken or

    disregarded by the Court.3


    1
      This is Plaintiffs’ fourth attempt to provide the Court with supplemental authority without
    first obtaining leave of Court. See Dkt. 63, 71, 127, 137.
    2
      See also Pellegrino v. Koeckritz Dev. of Boca Raton, LLC, No. 08-80164-CIV, 2008 WL
    4753726, at n.2 (S.D. Fla. Oct. 27, 2008) (Marra, D.J.) (“The Court shall strike the portions of
    Defendant's Notice that makes legal argument”); Girard v. Aztec RV Resort, Inc., No. 10-
    62298-CIV, 2011 WL 4345443, at *2 (S.D. Fla. Sept. 16, 2011) (Rosenbaum, M.J.) (“Put
    simply, notices of supplemental authority should not make legal argument.”).
    3
      See, e.g., City of Bradenton v. Safety Nat'l Cas. Corp., No. 8:17-CV-267-VMC-MAP, 2017
    WL 2448394, at *2 (M.D. Fla. June 6, 2017) (Covington, D.J.) (striking defendant’s “Notice
    of Filing Supplemental Authority,” which was filed without leave).


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           Beyond the procedural defects, the Notice is also misleading regarding the Order.

    Plaintiffs argue that the Cox court noted that “Sony was not required to prove ‘draw’ according

    to Cox’s proffered standard.” But the Cox court did not relieve Plaintiffs from proving

    “draw”—though it did fail to address the very authority it relied upon, which states that a flat-

    fee would not be sufficient to establish draw unless the value of the service lies in “providing

    access to infringing content.” Order at 18 (citing S. Rep. 105-190, at 44 (1998); Ellison, 357

    F.3d at 1079.

           The Order noted that with respect to vicarious liability, “[C]ongress and several courts

    have said that flat-fee subscription services would not be sufficient to establish the causal

    relationship unless the value of the service was derived from providing access to the infringing

    material.” Order at 18 (citing S. Rep. 105-190, at 44 (1998); Ellison v. Robertson, 357 F.3d

    1072, 1079 (9th Cir. 2004). The Order then notes that an exception to the general rule that

    flat-fee subscription services, like BHN’s Internet service, are not sufficient to establish the

    causal relationship required to impose vicarious liability would be “where the value of the

    service lies in providing access to infringing material.” Order at 19 (internal citations omitted).

           While the Order concluded that there was sufficient evidence to support the requisite

    draw, it did so without any discussion of how the value of a general purpose ISP lies in

    providing access to infringing material, an issue that will be appealed to the Fourth Circuit as

    a finding of draw for purposes of vicarious liability in these circumstances would vastly expand




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    the contours of vicarious liability and expose every commercial service to such liability for

    merely charging for its service.4

           Here, the “value of the service” provided by BHN is providing access to the internet at

    large, not in providing “access” to “infringing material.” Id. There are no plausible allegations

    to the contrary, as a subscriber can indisputably use BHN’s internet service in countless lawful

    ways when accessing content from the vast array of offerings available on the internet.

    Plaintiffs do not and cannot allege that the value of BHN’s internet service lies in providing

    access to infringing material.

           The Court should either strike Plaintiffs’ Notice of Supplemental Authority or, to the

    extent it allows it, consider this response as well.



    Dated: June 17, 2020                            Respectfully submitted,

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    4
      See BHN’s Motion to Dismiss (Dkt. 99 at 13) (“Ellison . . . discusses a distinction highly
    pertinent to this case between the ‘draw’ of customers to Napster and AOL. [357 F.3d at 1079].
    Because there was nothing to support the allegation that ‘AOL attracted or retained
    subscriptions because of the infringement or lost subscriptions because of AOL’s eventual
    obstruction of the infringement,’ the plaintiffs’ vicarious liability claim failed. Id. (emphasis
    added)”; see also BHN’s Reply in Support of its Motion to Dismiss (Dkt. 119 at 3) (Capitol
    Records, LLC v. Escape Media Grp., Inc., 2015 WL 1402049, at *42 (S.D.N.Y. Mar. 25, 2015)
    (finding “draw of infringing content” where “approximately 84.5% of the website’s streams
    are [infringing]” and “80% of Escape’s revenue is from website advertisements[.]”).


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                                                 Bright House Networks, LLC




                                  CERTIFICATE OF SERVICE

           I certify that on June 17, 2020, a true and correct copy of the foregoing was filed with

    the Court via CM/ECF which will send a notice of electronic filing to the parties of record.

                                                   s/ Erin R. Ranahan
                                                   Erin R. Ranahan




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